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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-                                       No. 12-CR-863 (LAP)

JERMAINE NIBBS,                                         ORDER

                       Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of Defendant Jermaine Nibbs’s

letter dated October 22, 2020 [dkt. no. 560].            Probation and the

Government shall respond to Mr. Nibbs’s request for early

termination of his supervised release no later than November 10,

2020.

SO ORDERED.

Dated:       October 27, 2020
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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